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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                    NO: 2:14-CR-21-RMP-14
 8                                Plaintiff,

 9           v.                                     ORDER GRANTING UNITED
                                                    STATES’ ORAL MOTION TO
10    CIERRA C. WHITE (14),                         DISMISS AND CLOSING CASE

11                                Defendant.

12

13           BEFORE THE COURT is the United States’ Oral Motion to Dismiss Count

14   2 of the Indictment charging Defendant with Conspiracy to Distribute a Controlled

15   Substance in violation of 21 U.S.C. § 846 and Count 17 charging Defendant with

16   Distribution of a Controlled Substance in violation of 21 U.S.C. § 841(a)(1). This

17   matter came before the Court at Defendant’s sentencing hearing in a companion

18   case, Case No. 2:13-CR-177-RMP-4, on February 3, 2016. The Court finds good

19   cause to grant the motion.

20   / / /

21   / / /

     ORDER GRANTING UNITED STATES’ ORAL MOTION TO DISMISS AND
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 1         Accordingly, IT IS HEREBY ORDERED:

 2         1. The Government’s oral motion to dismiss Count 2 and Count 17 is

 3              GRANTED.

 4         2. Count 2 of the Indictment charging Defendant with Conspiracy to

 5              Distribute a Controlled Substance and Count 17 charging Defendant

 6              with Distribution of a Controlled Substance are hereby dismissed as to

 7              Defendant Cierra C. White.

 8         The District Court Clerk is directed to enter this Order, provide copies to

 9   counsel.

10         DATED this 4th day of February 2016.

11
                                                 s/ Rosanna Malouf Peterson
12                                             ROSANNA MALOUF PETERSON
                                                  United States District Judge
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     ORDER GRANTING UNITED STATES’ ORAL MOTION TO DISMISS AND
     CLOSING CASE ~ 2
